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UN!TED sTATEs DISTRICT coURT MAY l 7 2015
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HoUs'roN nlvlsloN 544 J, wm ¢M°,W
UNITED sTATEs oFAMERICA j
v. : cRIMINAL No. _ z ,

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Presmer, LLC and '
A`nnsley Popov '
Defendants. '

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THE UNITED STATES ATTORNEY CHARGES THAT:

GENERAL ALLEGATIONS

l. Presmer, LLC is a limited liability company formed under the laws of Texas on
Decernber 22, 2010. At all tirnes relevant to this Information, Annlsey Popov was the principle owner
and manager of Presmer which she operated from her residence in Houston, Texas.

2. On December 30, 2010, Annlsey Popov applied to the United States Fish and Wildlife
Service (FWS) for a permit authorizing Presmer to import and export wildlife In the application,
Annsley Popov certified that she “read and [was] familiar with the regulations contained within Title
50, Part 13 of the Code of Federal regulations and other applicable parts in subchapter B of Chapterl
of Title 50.”

3. The Lacey Act, 16 U.S.C. § 3371 et seq., among other things, makes it unlawful to
make or submit a false record for wildlife which has been or is intended to be imported, exported,

transported, sold, purchased or received from any foreign country.

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4. The Endangered Species Act (ESA), 16 U.S.C. § 1531 et seq., among other things,
makes it unlawful for any person subject to the jurisdiction of the United States to engage in any trade
of specimens contrary to the provisions of the Convention on International Trade in Endangered
Species of Wild Fauna and Flora (CITES). 16 U.S.C. § 153 8(c)(1). Species listed by CITES 183 l
member nations are placed on one of three appendices and given a sliding scale of protection `50 CFR
Part 23. Appendix I includes species threatened with extinction and is the most restrictive, banning
wildlife trade between two countries for commercial purposes Appendix II allows commercial trade
under permit for species not yet considered in danger of imminent extinction but which must be
controlled in order to avoid utilization incompatible with survival Appendix lll contains species that
are protected in at least one country which has asked the other CITES countries for assistance in
controlling trade. lndonesia is a CITES member nation and all species in the python family
(pythom`dae) are listed in Appendix II, with the exception of python mourus molurus, which is listed in
Appendix I.

5. Under Title 50, Code of Federal Regulations, Chapter I, subchapter B, section 10.12,
the term “wildlife” is defined as any wild animal, whether alive or dead, including, without limitation,
any wild mammal, bird, reptile, amphibian, whether or not bred, hatched, or born in captivity, and
including any part, product, egg or offspring thereof.

6. Under Title 50, Code of F ederal Regulations, Chapter I, subchapter B, sections 14.61
and 14.63, all importers and exporters, or authorized agents, must file with the FWS a completed
Declaration for Importation or Exportation of Fish and Wildlife Form 3-177 (Declaration Form 3-177),
signed by the importer, exporter or agent where FWS clearance is required Declaration Form 3-177

requires, among other things, an accurate listing of the genus, species and common name of the item

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being imported, the quantity being imported, the country of origin, the purpose of the importation, and

the identification number of any permit authorizing the importation

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[18 U.S.C. §§ 545 & 2]
(Smuggling Goods into the United States)
On or about May 17, 2013, in Houston, in the Southern District of ”l"exas, and elsewhere, the
defendants:

PRESMER, LLC and ANNsLEY PoPov
fraudulently and knowingly imported into the United States certain merchandise, that is, 202
pairs of python-skin sandals, 4 python-skin purses and 131 stingray-skin cuff bracelets,

- contrary to law, in that the defendants made a false invoice for this imported wildlife, in
violation of Title 16, United States Code, section 3372(d), failed to file a completed
Declaration for importation and Exportation of Fish and Wildlife (Form 3-177) for this wildlife
contrary to Title 50, Code of Eederal Regulations, Section 14.61, and failed to obtain a permit
from the country of origin for the python skin merchandise contrary to the provisions of the
Convention on lnternational Trade in Endangered Species of Wild Fauna and Flora and Title

16, United States Code, Section 1538(c)(l) .

In violation of Title 18, United States Code, Section 545 and Section 2.

RYAN K. PATRICK
United Stat Attorney

By: /
Stev/en T. Scharhmel
Assistant United States Attorney

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Environmental Crimes Section

